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 4
 5   Attorney for Defendant,
     LUCY VARGAS
 6
 7
 8                                               UNITED STATES DISTRICT COURT
 9                                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                        CASE NO. 1:09-cr-00296-AWI
                                         )
12               Plaintiff,              )
                                         )                        STIPULATION TO CONTINUE
13                                       )                        STATUS CONFERENCE TO
     vs.                                 )                        JANUARY 11, 2010 AND
14                                       )                        ORDER THEREON
                                         )
15   THOMAS RAYA, JR.,                   )
     DANIEL ALCANTAR, and                )
16   LUCY VARGAS                         )
                                         )
17               Defendants.             )
     ____________________________________)
18
19
20              IT IS HEREBY STIPULATED by and between the parties hereto, and through their
21   respective attorneys of record herein, that the Status Conference hearing currently set for
22   November 30, 2009 be continued to January 11, 2010 at 9:00 a.m.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

     STIPU LATIO N TO C O N TIN U E STATU S
     C O N FER EN C E TO JAN U AR Y 11, 2010;
     O R D ER THER EO N                                       1
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 1              Defendant, DANIEL ALCANTAR is detained in the San Mateo County Jail until
 2   December 12, 2009. Counsel stipulates to continue the Status Conference set for November 30,
 3   2009 until January 11, 2010 so that all Defendants may attend.
 4
 5   Dated: November 25, 2009                                    By: /s/ Carol Ann Moses
                                                                        CAROL ANN MOSES
 6                                                                      Attorney for Defendant
                                                                        LUCY VARGAS
 7
 8   Dated: November 25, 2009                                    By: /s/ Karen L. Lynch
                                                                        KAREN L. LYNCH
 9                                                                      Attorney for Defendant
                                                                        DANIEL ALCANTAR
10
11   Dated: November 25, 2009                                    By: /s/ Michael Berdinella
                                                                         MICHAEL BERDINELLA
12                                                                      Attorney for Defendant
                                                                        THOMAS RAYA, JR.
13
14
15
16                                                      ORDER
17              The Court, having reviewed the above request for a Continuance of Status Conference
18   until January 11, 2010, and Order Thereon, HEREBY ORDERS AS FOLLOWS:
19              1.          The Status Conference Hearing currently scheduled for November 30, 2009 shall
20                          be continued to January 11, 2010 at 9:00 a.m.
21
22   IT IS SO ORDERED.
23   Dated:           November 25, 2009                      /s/ Anthony W. Ishii
     0m8i78                                         CHIEF UNITED STATES DISTRICT JUDGE
24
25
26
27
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     STIPU LATIO N TO C O N TIN U E STATU S
     C O N FER EN C E TO JAN U AR Y 11, 2010;
     [PR O PO SED ] O R D ER THER EO N                      2
